         Case 1:21-cr-00420-RBW Document 1-1 Filed 03/17/21 Page 1 of 7




                                   STATEMENT OF FACTS

       Your affiant, Brad Theroux, is a Special Agent with the Federal Bureau of Investigation.
As a Special Agent, I am authorized to investigate violations of the laws of the United States and
to execute search warrants issued under the authority of the United States. Currently, I am tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
             Case 1:21-cr-00420-RBW Document 1-1 Filed 03/17/21 Page 2 of 7




         During the course of the investigation into the events of January 6, 2021, law enforcement
received a tip regarding the individual depicted in Picture 1 below. The text tip stated “This is a
picture of William Tryon as seen on CNN during the insurrection of the Capitol. His current
address is XXX XXXXX XXXXX Rd, Selkirk, NY XXXXX-XXXX.”1 On March 8, 2021,
members of law enforcement conducted a subsequent interview of the individual that submitted
this tip (hereinafter, Witness-1). Witness-1 advised that he/she is related to WILLIAM TRYON
and knows that TRYON resides at the address provided in the tip because of family ties.

Picture 1. Attached to a tip submitted to the FBI identifying Tryon.




       On January 30, 2021, the United States Capitol Police located additional images of an
individual who appears to match the individual identified by Witness-1 as WILLIAM TRYON.

Picture 2. In front of a line of United States Capitol Police Officers




1
    The street number, name, and zipcode have been redacted here due to the public nature of this filing.
           Case 1:21-cr-00420-RBW Document 1-1 Filed 03/17/21 Page 3 of 7




Picture 3. Appearing to be inside of the Capitol Building.




       Based on a review of publicly available video, your affiant has located further footage that
captures the same individual depicted in the images above (including the unique jacket with red
and blue trim, the brimmed hat, and the laptop/tablet under his arm).2 A screen grab from that
video includes the following image:




2
    This footage is available at https://www.youtube.com/watch?v=rJXm-tbJwZ8.
            Case 1:21-cr-00420-RBW Document 1-1 Filed 03/17/21 Page 4 of 7




         During the video, WILLIAM TRYON has a cellphone in his hand. When the video is
paused, the cellphone appears to indicate that TRYON is on a call with a saved contact name of
“Bill & Jill Tryon.” During the video, from approximately 5:20 to 6:10, Tryon states “All we want
to do is enter, and tell our representatives we want our country back. We’re not going to take this.”
TRYON further states, “this was nothing so far.” At approximately 5:50, an unidentified individual
asked TRYON if he went inside, to which TRYON responded, “Yeah, well when we got to the
door we got pepper sprayed.” TRYON further states “actually inside.”

        At approximately 6:05 in the same video, WILLIAM TRYON is clearly clutching a
laptop/tablet in his left hand and arm.




       Your affiant has identified the following images of WILLIAM TRYON on publicly
available websites that appear to match the Subject that appeared in the Capitol on January 6,
20213,4:




3
    https://castbox.fm/episode/Bill-Tryon---Liberty-Bell-Alliance-76-id1549818-id302678695?country=us
4
    https://www.facebook.com/watch/live/?v=934135350406608&ref
         Case 1:21-cr-00420-RBW Document 1-1 Filed 03/17/21 Page 5 of 7




        Based on a review of additional publicly available video, your affiant has located footage
that captures the below individual at rally in Albany, New York. At 1:30:52 prior to walking to
the podium, this individual is introduced as “Mr. Billy Tryon.” One screen grab from the video
includes the following image: 4
         Case 1:21-cr-00420-RBW Document 1-1 Filed 03/17/21 Page 6 of 7




        Based on the foregoing, your affiant submits that there is probable cause to believe that
WILLIAM TRYON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that WILLIAM TRYON
violated 40 U.S.C. § 5104(e)(2)(D), (G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
         Case 1:21-cr-00420-RBW Document 1-1 Filed 03/17/21 Page 7 of 7




House of Congress; and, (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                    _________________________________
                                                    Special Agent Brad Theroux
                                                    Federal Bureau of Investigation

Attested to by the applicant by
telephone, this 17th day of March 2021.
                                                                    2021.03.17
                                                                    20:48:39
                                                                    -04'00'
                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
